Case 6:14-cv-00576-RBD-KRS Document 21 Filed 09/29/14 Page 1 of 2 Page|D 81

UNITED S'I`ATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

MATTHEW CARSON,
Plaintiff,
~vs- CASE No.: 6:14-CV-00576-RBD-KRS

VERIZON WIRELESS PERSONAL
COMMUNICATIONS, LP d/b/ a VERIZON
WIRELESS,

Defendant.
/

NOTICE OF PEN])ING SETTLEMENT
Plaintiff, Matthew Carson, by and through his undersigned counsel, hereby submits this
Notice of Pending Settlemen`t and States that Plaintiff and Defendant, Verizon Wireless Personal
Colnmunications, LP d/b/a Verizon Wireless, have reached a settlement With regard to this case
and are presently drafting, finalizing, and executing the settlement and dismissal documents.

Upon execution of the same, the parties Will file the appropriate dismissal documents with the

5

Court.
Dared this 29“‘ day of Sepcember 2014.

/s/ William Peerce Howard
William Peerce Howard, Esquire
Morgan & Morgan, P.A.
One Tampa City Center
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Case 6:14-cv-00576-RBD-KRS Document 21 Filed 09/29/14 Page 2 of 2 Page|D 82

CERTlFICATE OF SERVICE
I HEREBY CERTIFY that on the 29th day of September, 2014, a copy of the foregoing
was filed Via the Court’S CM/ECF filing system providing a copy to all counsel of record.

Robert J. AlWine, Esquire
Robert Allen Law

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/S/ William Peerce Hc)wa rd
Attorney for Plaintiff

 

